Case 3:18-cv-05565-MAS-DEA Document 1-1 Filed 04/05/18 Page 1 of 15 PageID: 6




                           Exhibit “A”
              MID-L-001240-18 02/28/2018 5:00:37 PM Pg 1 of 1 Trans ID: LCV2018374083
    Case 3:18-cv-05565-MAS-DEA Document 1-1 Filed 04/05/18 Page 2 of 15 PageID: 7


                                                         SUMMONS
Attorney(s) Rivers Law Firm LLC
                                                                                   Superior Court of
Office Address 50 Mountain Avenue
Town, State, Zip Code
                      Caldwell, New Jersey 07006                                      New Jersey
                                                                                  Middlesex          County
Telephone Number (201) 744-4321                                                   Law                Division
Attorney(s) for Plaintiff Noel Rivers, Esq.                                Docket No: MID-L-001240-18
Andrew Schuman


          Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
Millennium Products, Inc., Wegmans
Food Markets, Inc., and XYZ Corp 1-10
          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                          s/Michelle Smith
                                                                          Clerk of the Superior Court

DATED: 2/28/18
Name of Defendant to Be Served: Millennium Products, Inc.
Address of Defendant to Be Served: Wegmans Food Markets, Inc.



Revised 11/17/2014, CN 10792-English (Appendix XII-A)
     MID-L-001240-18 02/28/2018 10:55:36 AM Pg 1 of 13 Trans ID: LCV2018367340
Case 3:18-cv-05565-MAS-DEA Document 1-1 Filed 04/05/18 Page 3 of 15 PageID: 8
     MID-L-001240-18 02/28/2018 10:55:36 AM Pg 2 of 13 Trans ID: LCV2018367340
Case 3:18-cv-05565-MAS-DEA Document 1-1 Filed 04/05/18 Page 4 of 15 PageID: 9
     MID-L-001240-18 02/28/2018 10:55:36 AM Pg 3 of 13 Trans ID: LCV2018367340
Case 3:18-cv-05565-MAS-DEA Document 1-1 Filed 04/05/18 Page 5 of 15 PageID: 10
     MID-L-001240-18 02/28/2018 10:55:36 AM Pg 4 of 13 Trans ID: LCV2018367340
Case 3:18-cv-05565-MAS-DEA Document 1-1 Filed 04/05/18 Page 6 of 15 PageID: 11
     MID-L-001240-18 02/28/2018 10:55:36 AM Pg 5 of 13 Trans ID: LCV2018367340
Case 3:18-cv-05565-MAS-DEA Document 1-1 Filed 04/05/18 Page 7 of 15 PageID: 12
     MID-L-001240-18 02/28/2018 10:55:36 AM Pg 6 of 13 Trans ID: LCV2018367340
Case 3:18-cv-05565-MAS-DEA Document 1-1 Filed 04/05/18 Page 8 of 15 PageID: 13
     MID-L-001240-18 02/28/2018 10:55:36 AM Pg 7 of 13 Trans ID: LCV2018367340
Case 3:18-cv-05565-MAS-DEA Document 1-1 Filed 04/05/18 Page 9 of 15 PageID: 14
      MID-L-001240-18 02/28/2018 10:55:36 AM Pg 8 of 13 Trans ID: LCV2018367340
Case 3:18-cv-05565-MAS-DEA Document 1-1 Filed 04/05/18 Page 10 of 15 PageID: 15
      MID-L-001240-18 02/28/2018 10:55:36 AM Pg 9 of 13 Trans ID: LCV2018367340
Case 3:18-cv-05565-MAS-DEA Document 1-1 Filed 04/05/18 Page 11 of 15 PageID: 16
     MID-L-001240-18 02/28/2018 10:55:36 AM Pg 10 of 13 Trans ID: LCV2018367340
Case 3:18-cv-05565-MAS-DEA Document 1-1 Filed 04/05/18 Page 12 of 15 PageID: 17
     MID-L-001240-18 02/28/2018 10:55:36 AM Pg 11 of 13 Trans ID: LCV2018367340
Case 3:18-cv-05565-MAS-DEA Document 1-1 Filed 04/05/18 Page 13 of 15 PageID: 18
     MID-L-001240-18 02/28/2018 10:55:36 AM Pg 12 of 13 Trans ID: LCV2018367340
Case 3:18-cv-05565-MAS-DEA Document 1-1 Filed 04/05/18 Page 14 of 15 PageID: 19
     MID-L-001240-18 02/28/2018 10:55:36 AM Pg 13 of 13 Trans ID: LCV2018367340
Case 3:18-cv-05565-MAS-DEA Document 1-1 Filed 04/05/18 Page 15 of 15 PageID: 20
